Case 2:20-cv-10949-LVP-MJH ECF No. 45 filed 05/01/20         PageID.1419    Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JAMAAL CAMERON, RICHARD BRIGGS,
RAJ LEE, MICHAEL CAMERON, and
MATTHEW SAUNDERS, individually and
on behalf of all others similarly situated,

                    Plaintiffs,                      Civil Case No. 20-10949
                                                     Honorable Linda V. Parker
v.

MICHAEL BOUCHARD, CURTIS D. CHILDS,
and OAKLAND COUNTY,

               Defendants.
____________________________________/

       ORDER EXTENDING TEMPORARY RESTRAINING ORDER

      On April 17, 2020 this Court entered a temporary restraining order, requiring

Defendants to utilize specific measures to improve hygiene and safety at the

Oakland County Jail in response to the novel coronavirus (“COVID-19). A

hearing is scheduled on Plaintiffs’ request for a preliminary injunction on Monday

May 4, 2020. While the Court hoped to hold the hearing and rule on the motion

before the TRO expires, the virus has prohibited the scheduling of the hearing

before that time. Specifically, the circumstances have made it more difficult for

the parties, particularly Plaintiffs, to meet with and prepare their witnesses and for

the Court to secure the resources to conduct the hearing via videoconferencing.
Case 2:20-cv-10949-LVP-MJH ECF No. 45 filed 05/01/20    PageID.1420   Page 2 of 2




      The Court therefore finds good cause to extend the April 17, 2020 TRO for

an additional fourteen (14) days.

      IT IS SO ORDERED.

                                            s/ Linda V. Parker
                                            LINDA V. PARKER
                                            U.S. DISTRICT JUDGE

 Dated: May 1, 2020 at 5:33 p.m.




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